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     UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                     No. 23-1661



                      Peter Brito v. LG Electronics USA Inc, et al

                       (U.S. District Court No.: 2-22-cv-05777)


                                       ORDER

      It is hereby ORDERED that the above matter is dismissed pursuant to Fed. R.
 App. P. 42(b). A certified copy of this order is issued in lieu of a formal mandate.



 For the Court,

 s/ Patricia S. Dodszuweit
 Clerk

 Dated: April 24, 2023
                                                         A True Copy:

 PDB/cc: Zachary Arbitman, Esq.
         Alan M. Feldman, Esq.                          Patricia S. Dodszuweit, Clerk
         Edward S. Goldis, Esq.                         Certified Order Issued in Lieu of Mandate
         Mr. William T. Walsh,
         Allison M. Wuertz, Esq.
